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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Vv.

ILYA LICHTENSTEIN and HEATHER CRIMINAL NO. 23-cr-239 (CKK)
MORGAN, et ai.,

Defendants.

PRO SE MOTION TO INTERVENE AND ASSERT VICTIM STATUS

COMES NOW Francisco Cavazos, a victim of the theft underlying this case, and
respectfully moves this Honorable Court for permission to intervene in the restitution
proceedings and assert claims for restitution under 18 U.S.C. § 3664 and other applicable laws.

In support of this pro se motion, Francisco Cavazos states as follows:

I. INTRODUCTION

Francisco Cavazos is a victim of the theft of cryptocurrency in connection with the
Bitfinex hack, as defined under 18 U.S.C. § 3663A (Mandatory Victims Restitution Act).
Specifically, on or about August 2nd, 2016, Cavazos lost 14.994 BTC as a direct result of
the hack. This loss has been documented in reports filed with law enforcement, the IRS
Office, and other relevant authorities.

The government has since recovered approximately 120,000 BTC tied to the
Bitfinex hack. Cavazos seeks restitution of his stolen 14.994 BTC pursuant to 18 U.S.C.
§ 3664 and related statutes.

ll. BASIS FOR INTERVENTION

1. Restitution and Federal Law Protections

Federal statutes make clear that victims’ rights are paramount in criminal

restitution cases:
